                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                          ABINGDON DIVISION

  UNITED STATES OF AMERICA                      )
                                                )     Case No. 1:14CR00010-11
                                                )     Case No. 1:16CR00008-01
                                                )
  v.                                            )            OPINION
                                                )
  TOBY MOCK,                                    )     By: James P. Jones
                                                )     United States District Judge
                  Defendant.                    )

        Kathleen Carnell, Special Assistant United States Attorney, Abingdon,
  Virginia, for United States; Toby Mock, Pro Se Defendant.

        The defendant, Toby Mock, proceeding pro se, filed a Motion to Vacate, Set

  Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255. This matter is before me

  on the United States’ Motion to Dismiss. Mock responded to that motion, making

  the matter ripe for disposition. After reviewing the record, I find that Mock’s

  § 2255 claims are without merit and must be dismissed.

                                         I.

        In case number 1:16CR00008-01, Mock was charged with being a felon in

  possession of a firearm in violation of 18 U.S.C. § 922(g)(1) (“firearm charge”).

  In case number 1:14CR00010-11, Mock was charged with violating the terms of

  supervised released imposed after a prior drug conviction (“revocation charge”).

  On May 3, 2016, I sentenced Mock to thirty months’ incarceration for the firearm




Case 1:14-cr-00010-JPJ-RSB Document 1056 Filed 11/07/18 Page 1 of 6 Pageid#: 6415
  charge and eighteen months’ incarceration for the revocation charge, the terms to

  be served consecutively.

        Mock testified during the joint hearing on both cases. She explained that she

  had wanted her son to have a rifle that was in her brother’s home, and after her

  brother would not transfer it to her, Mock had a friend retrieve it from her brother’s

  home during the brother’s absence.        Sentencing Hr’g Tr. 25:10-14, 27:9-24,

  1:16CR00008, ECF No. 26. Mock kept the loaded rifle in her bedroom closet even

  though she knew she was not allowed to have it.1 Id. at 25:18, 26:12–13, 27:12–

  13, 38:18–39:23.    Mock admitted during the sentencing hearing that she had

  knowingly violated the terms of supervised release by using methamphetamine

  repeatedly. Id. at 30:9–13, 38:11–14. Mock also admitted to having distributed

  methamphetamine on at least two occasions by facilitating others’ purchases. Id.

  at 31:11–21.

        Mock generally presents two claims in the § 2255 Motion. First, Mock

  alleges that counsel rendered ineffective assistance, “particularly at the change of

  plea and sentencing phases.” § 2255 Mot. 4, 1:14CR00010-11, ECF No. 942,

  1:16CR00008-01, ECF No. 20.            Second, Mock alleges that prosecutorial

  misconduct “irrevocably harmed” the proceedings. Id. at 5. In support of these

  claims, Mock filed a “Memorandum in Support,” 1:14CR00010-11, ECF No. 948,

        1
          Mock had also acknowledged similar facts before pleading guilty to the firearm
  charge. Plea Hr’g Tr. 16:12–17:10, 1:16CR00008, ECF No. 25.


Case 1:14-cr-00010-JPJ-RSB Document 1056 Filed 11/07/18 Page 2 of 6 Pageid#: 6416
  1:16CR00008-01, ECF No. 22, which in pertinent part incorporates a letter she

  mailed to me in April 2017.2 1:14CR00010-11, ECF No. 929, 1:16CR00008-01,

  ECF No. 18. Mock noted in the letter her disagreement with the federal Bureau of

  Prison’s decisions about her sentences.3 She also had acknowledged in the letter

  that she had freely given law enforcement officers permission to search her home

  before they found the rifle in her bedroom closet, but she nonetheless argues that

  she did not have actual or constructive possession of it.

                                             II.

        Mock’s conclusory assertions of ineffective assistance and prosecutorial

  misconduct lack any evidentiary support and are not sufficient to warrant relief or

  even an evidentiary hearing. See, e.g., United States v. Dyess, 730 F.3d 354, 359-

  60 (4th Cir. 2013); see also Rule 2(b) of the Rules Governing Section 2255

  Proceedings (requiring a § 2255 motion to specify all grounds for relief and state

  the facts supporting each ground). To the extent a court could liberally construe an


        2
          The Memorandum in Support primarily seeks a reduction in sentence pursuant to
  Pepper v. United States, 562 U.S. 476, 480 (2011). Because I will not vacate the
  judgment, Pepper does not apply. See United States v. Morris, Cv. No. 7:02-cr-00128-
  GRA-1, 2013 WL 1303124, at *1 (D.S.C. Mar. 28, 2013) (“[R]ehabilitation may be
  considered by a court while a defendant is being sentenced or resentenced, but it may not
  be used as an independent ground for a defendant to obtain a resentencing.”).
        3
           On April 24, 2018, I denied Mock’s analogous motion asking me to amend       the
  manner in which she serves the sentences. 1:14CR00010-11, ECF No. 1051. To            the
  extent the arguments also require adjudication under 28 U.S.C. § 2255, they           are
  dismissed as invalid bases to vacate the judgment. See 28 U.S.C. § 2255(a) (listing   the
  types of claims warranting collateral relief).


Case 1:14-cr-00010-JPJ-RSB Document 1056 Filed 11/07/18 Page 3 of 6 Pageid#: 6417
  ineffective assistance claim or prosecutorial misconduct claim from Mock’s

  assertions of an unlawful search of her home, it also fails.

        A petitioner claiming ineffective assistance of counsel must satisfy the two-

  pronged test set forth in Strickland v. Washington, 466 U.S. 668, 671 (1984).4 The

  first prong of Strickland requires a petitioner to show “that counsel made errors so

  serious that counsel was not functioning as the ‘counsel’ guaranteed the defendant

  by the Sixth Amendment[,]” meaning that counsel’s representation fell below an

  objective standard of reasonableness. 5       Id. at 687-88.     The second prong of

  Strickland requires a petitioner to show that counsel’s deficient performance

  prejudiced her by demonstrating a “reasonable probability that, but for counsel’s

  unprofessional errors, the result of the proceeding would have been different.” Id.

  at 694.

        The test for prosecutorial misconduct is similar to the test under Strickland.

  A petitioner claiming prosecutorial misconduct must establish improper

  prosecutorial conduct and that the conduct “prejudicially affected the defendant’s

  substantial rights so as to deprive the defendant of a fair trial.” United States v.
        4
           If a petitioner has not satisfied one prong of the test, a court does not need to
  inquire whether she has satisfied the other prong. Id. at 697.
        5
           Strickland established a “strong presumption that counsel’s conduct falls within
  the wide range of reasonable professional assistance[.]” 466 U.S. at 689. “Judicial
  scrutiny of counsel’s performance must be highly deferential[,]” and “every effort [must]
  be made to eliminate the distorting effects of hindsight . . . and to evaluate the
  [challenged] conduct from counsel’s perspective at the time.” Id.



Case 1:14-cr-00010-JPJ-RSB Document 1056 Filed 11/07/18 Page 4 of 6 Pageid#: 6418
  Chorman, 910 F.2d 102, 113 (4th Cir. 1990) (internal quotation marks and

  citations omitted).

        Mock cannot demonstrate prejudice flowing from the search because she

  admittedly gave law enforcement officers valid consent to search her home, and

  her knowing, voluntary, and intelligent plea of guilty has waived that challenge.

  See, e.g., Stone v. Powell, 428 U.S. 465, 493-95 (1976) (discussing waiver of a

  Fourth Amendment challenge by plea); Schneckloth v. Bustamonte, 412 U.S. 218,

  227-28 (1973) (discussing waiver of a Fourth Amendment challenge by consent).

  Mock’s argument that she lacked actual or constructive possession of the rifle in

  her bedroom closet is rebutted by her admissions during the plea and sentencing

  hearings. Mock obtained the rifle from her brother’s home and kept it in her

  bedroom closet so her son would not be able to access it readily. Sentencing Hr’g

  Tr. 25:17–23, 1:16CR00008, ECF No. 26. Consequently, Mock intentionally and

  voluntarily exercised dominion and control over the rifle. See, e.g., United States

  v. Shorter, 328 F.3d 167, 172 (4th Cir. 2003) (discussing requirements for

  constructive possession).      Accordingly, the record, including Mock’s own

  submissions, does not support a colorable claim of ineffective assistance of counsel

  or prosecutorial misconduct.




Case 1:14-cr-00010-JPJ-RSB Document 1056 Filed 11/07/18 Page 5 of 6 Pageid#: 6419
                                         III.

        In conclusion, I will grant the United States’ Motion to Dismiss and dismiss

  the Motion to Vacate, Set Aside, or Correct Sentence. A separate Final Order will

  be entered herewith.

                                                DATED: November 7, 2018

                                                /s/ James P. Jones
                                                United States District Judge




Case 1:14-cr-00010-JPJ-RSB Document 1056 Filed 11/07/18 Page 6 of 6 Pageid#: 6420
